Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 1 of 10




                               UNITED STATES DISTRICT COURT
                               SO U TH ER N D ISTRIC T O F FLO R ID A

                                    caseNo.21-CR-N RN -+ 'œ

    U NITED STA TE S O F AM ERIC A

    VS.

    JESUS GABRIEL RODRIGUEZ,JR .,

           D efendant.
                                                         /


                                        PLEA AG R EEM EN T


           TheUnitedStatesAttorney'sOftkefortheSouthernDistrid ofFloridaCtthisOftice''land
    JESUS GABRIEL RODM GUEZ,JR.(hereinafterreferredtoasthedsdefendanf'),enterintothe
    follow ing agreem ent:

               The defendantagrees to w aive indictm entand plead guilty to an lnform ation charging

    him w ith aiding and abetting the entry ofgoodsby m eansoffalse statem ents,in violation ofTitle

    18,United States Code, Sections 542 and 2 as alleged in the lnformation. The defendant

    understands thathe has the rightto have the evidence and charges againsthim presented to a

    federalgrand jury fordetermination ofwhetheror notthere isprobable cause to believe he
    comm itted the offense for which he is charged. Understanding thatright, and after fulland

    com plete consultation w ith his counsel,the defendant agrees to w aive in open courthis rightto

    prosecution by indictm entand agreesthatthisO ffice m ay proceed by w ay ofan lnform ation filed

   pursuantto Rule 7 ofthe FederalRulesofCrim inalProcedlzre.

           2. The defendantis aw arethatthesentencew illbeim posed by theCourtafterconsidering

   the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter ttsentencing
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 2 of 10




                                                     2
    Guidelines'). The defendantacknowledges and understands thatthe Courtwillcompute an
    advisory sentence under the Sentencing G uidelines and that the applicable guidelines w illbe

    determ ined by the Courtrelying in pa14 on theresultsofapre-sentence investigation by theCourt's

    probation oftice,which investigation willcomm ence aftertheguilty pleahasbeen entered. The

    defendantisalso awarethat,undercertain circum stances,the Courtm aydepartfrom theadvisory

    Sentencing Guidelinesrangethatithascomputed,and m ay raiseorlowerthatadvisory sentence

    under the Sentencing Guidelines. The defendantisfurtheraw are and understandsthatthe Court

    isrequired to considertheadvisory guidelinerange determined underthe Sentencing Guidelines,

    butis notbound to im pose a sentence w ithin thatadvisory range;the Courtis perm itted to tailor

    the ultim ate sentencein lightofotherstamtory concerns,and such sentence m ay be eithermore

    severe orlessseverethan the Sentencing Guidelines'advisory range. Knowing these facts,the

    defendantunderstandsand acknowledgesthattheCourthastheauthority to im pose any sentence

    w ithin and up to the statutory m axim um authorized by law forthe offenses identitied in paragraph

    1and thatthe defendantm ay notw ithdraw the plea solely asa resultofthe sentence im posed.

           3. The defendant also understands and acknow ledges that the Court m ay im pose a

    statutory m axim um term ofim prisonm entofup to 2 years,follow ed by aterm ofsupervised release

    ofup to least 1year. ln addition to a term ofim prisonm entand supervised release,theCourtm ay

    impose afineofup to $250,000,andm ay ordercrim inalforfeiture.

           4. Thedefendantfurtherunderstandsand acknowledgesthat,in addition to any sentence

    imposed underparagraph 3 ofthisagreement,a specialassessm entin theam ountof$l00 willbe
    im posed on the defendant. The defendant agrees that any special assessm entim posed shallbe

    paid atthetim e ofsentencing. lfthedefendantisfinaneially unableto pay thespecialassessm ent,
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 3 of 10




                                                  3
    the defendantagreesto present evidence to this Office and the Courtatthe tim e ofsentencing as

    to thereasonsforthedefendant'sfailureto pay.

               This O ftk e reserves the rightto inform the Courtand the probation oftice of al1facts

    pertinent to the sentencing process, including allrelevant inform ation concem ing the offenses

    com mitted,whether charged or not,as wellas concerning the defendant and the defendant's

    background. Subjectonlytotheexpresstennsofanyagreed-upon sentencingrecommendations
    contained in thisagreem ent,this Oftice furtherreservesthe rightto m ake any recom m endation as

    to the quality and quantity ofpunishm ent.

               ThisOffice agreesthatitwillrecomm end atsentencing thatthe Courtreduceby two

    levels the Sentencing G uidelines levelapplicable to the defendant's offense,pm suantto Sed ion

    3E1.1(a)ofthe Sentencing Guidelines,based upon thedefendant'srecognition and aftirmative
    and tim ely acceptance of personalresponsibility. lf at the tim e of sentencing the defendant's

    offense level is determ ined to be 16 or greater, this O ffice w ill tile a m otion requesting an

    additionaloneleveldecreasepursuantto Section 3E1.1(b)oftheSentencing Guidelines,stating
    thatthe defendant has assisted authorities in the investigation or prosecution of the defendant's

    ow n m isconduct by tim ely notifying authorities of the defendant's intention to enter a plea of

    guilty, thereby perm itting the governm ent to avoid preparing for trial and perm itting the

    govem m entand the Courtto allocate their resources efficiently. This O ffice,how ever,w illnot

    berequiredtomakethismotion andthisrecommendation ifthedefendant:(l)failsorrefusesto
    m ake a 1 11, accurate and com plete disclosure to the probation office of the circum stances

    sunounding the relevant offense conduct;(2) is found to have misrepresented facts to the
    govemmentpriorto entering into this plea agreement'
                                                      ,or (3)commits any misconductafter
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 4 of 10




                                                   4
    entering into thispleaagreem ent,including butnotlim ited to com m itting a state orfederaloffense,

    violating any term of release, or m aking false statem ents or m isrepresentations to any

    govem m entalentity orofficial.

           7. ThisOftk e agreesthat,although notbinding on the probation oftk eorthe Court,the

    Officewillrecom mend the defendantbe sentenced atthe 1ow end oftherange applicableto him

    underthe Guidelines.

               The defendantisaw are thatthe sentencehas notyetbeen determ ined by the Court.

    Thedefendantalso isaw arethatany estim ate ofthe probable sentencing range or sentence thatthe

    defendantm ay receive,whetherthatestim ate com esfrom the defendant'sattorney,this Oftice,or

    the probation oftice,isa prediction,nota prom ise,and isnotbinding on thisO ffice,the probation

    oftice orthe Court. The defendanttmderstandsfurtherthatany recom mendation thatthisOffice

    m akesto theCourtasto sentencing,w hetherpursuantto thisagreem entorotherwise,isnotbinding

    on the Courtand the Courtm ay disregard the recom m endation in its entirety. The defendant

    understands and acknow ledges, as previously acknowledged in paragraph 2 above, that the

    defendantm ay notw ithdraw hisplea based upon the Court's decision notto accepta sentencing

    recommendation madeby thedefendant,thisOffice,orarecommendation madejointly by the
    defendantand thisO ftice.

           9. Thedefendantagreesthatheshallcooperatefully with thisOfficeby:(a)providing
    truthfuland com plete inform ation and testim ony, and producing docum ents,records and other

    evidence,when called upon bythisOffice,whetherininterviews,beforeagrandjury,oratany
    trialorotherCourtproceeding;(b)appearingatsuch grandjuryproceedings,hearings,trials,and
    otherjudicialproceedings,andatmeetings,asmayberequiredbythisOffice;and(c)ifrequested
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 5 of 10




                                                     5
    by this O ftice,w orking in an tm dercover role under the supervision of,and in com pliance w ith,

    law enforcem entofticers and agents. ln addition,the defendant agrees that he w illnotprotect

    any person or entity through false inform ation orom ission,thathe w illnotfalsely im plicate any

    person orentity,and thathe thathe w illnotcom m itany further crim es.

            10. This Office reservesthe rightto evaluate the nature and extentof the defendant's

    cooperation and to m ake that cooperation,or lack thereof,known to the Court at the tim e of

    sentencing. lfinthesoleandunreviewablejudgmentofthisOfticethedefendant'scooperation
    isofsuch quality and signiticance to the investigation orprosecution ofothercrim inalm attersas

    to warrantthe Court'sdownward depalture from the advisory sentencing range calculated under

    the Sentencing G uidelines and/or any applicable m inim um m andatozy sentence,this O ffice m ay

    makeamotion priorto sentencing pursuantto Section 5K 1.1ofthe Sentencing Guidelinesand/or

    Title18,United StatesCode,Section 355340,orsubsequenttosentencingpursuanttoRule35of
    the Federal Rules of Crim inalProcedure,infonning the Courtthat the defendant has provided

    substantial assistance and recom m ending that the defendant's sentence be reduced. The

    defendantunderstands and agrees,how ever,thatnothing in this agreem entrequires this Office to

    tile any such m otions,and that this O ftice's assessm ent of the quality and significance of the

    defendant's cooperation shallbe binding as itrelates to the appropriateness ofthis O ftice's filing

    ornon-tiling ofa m otion to reduce sentence.

                The defendantunderstands and acknow ledgesthattheC ourtisunderno obligation to

    granta m otion for reduction of sentence filed by this O ftice. In addition,the defendant further

    understands and acknow ledges that the Courtis under no obligation of any type to reduce the

    defendant'ssentence because ofthe defendant's cooperation.
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 6 of 10




                                                 6
                ltisunderstood thatshould thedefendantknow ingly provide incom plete oruntruthful

    testim ony,statem ents,or inform ation pursuantto this agreem ent,or should the defendantfalsely

    im plicate or incrim inate any person,orshould the defendantfailto voluntarily and unreservedly

    disclose and provide 1 11,com plete,tnzthful,and honestknow ledge,infonnation,and cooperation

    regarding any ofthem attersnotedherein,the following conditionsshallapply:

                    (a)   Thedefendantmay beprosecuted forany perjury orfalsedeclarations,if
    any,committed whiletestifyingpursuanttothisagreement,orforobstruction ofjustice.
                    (b)   TheUnitedStatesmayprosecutethedefendantforthechargeswhichareto
    bedism issed plzrsuantto thisagreem ent,ifany,and m ay eitherseek reinstatem entoforretile such

    charges and prosecute the defendant thereon in the event such charges have been dism issed

    pursuantto thisagreem ent. W ith regard to such charges,ifany,which havebeen dism issed,the

    defendant,being fully aw are ofthenature ofallsuch chargesnow pending in the instantcase,and

    being furtheraware ofdefendant'srights,asto allfelony chargespending in such cases(those
    offensespunishablebyimprisonmentforaterm ofoveroneyear),tonotbeheldtoanswertosaid

    felonychargesunlessonapresentmentorindictmentofagrandjury,andfurtherbeingawarethat
    allsuch felony chargesin the instantcase have heretofore properly been returned by the indictm ent

    ofa grandjury,doeshereby agreeto reinstatementofsuch chargesby decision ofany order
    dism issing them or,alternatively,doeshereby w aive,in open court,prosecution by indictm entand

    consents thatthe U nited States m ay proceed by inform ation instead ofby indictm entw ith regard

    to any felony chargesw hich m ay be dism issed in the instantcase,pursuantto thisplea agreem ent,

    and the defendantfurther agrees to w aive the statm e oflim itationsand any speedy trialclaim son

    such charges.
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 7 of 10




                   (c)    TheUnited Statesmay prosecutethedefendantforany offensessetforth
    herein,ifany,theprosecution ofwhichin accordancewiththisagreem ent,theUnited Statesagrees

    to forego,and the defendantagrees to w aive the statute oflim itations and any speedy trialclaim s

    asto any such offenses.

                   (d)    The govemment may use against the defendant the defendant's own
    admissionsand statementsandtheinfonnation and books,papers,documents, andobjectsthatthe

    defendanthas furnished in the course ofthe defendant's cooperation w ith the govem m ent.

                  (e)     Thedefendantwillnotbepermitted to withdraw theguiltypleasto those
    countsto w hich defendanthereby agrees to plead in the instantcase.

           13. The defendantagrees,in an individualand any othercapacity,to forfeitto theU nited

    States,voluntarily and imm ediately,any right,title,and interestto any property constituting,or

    derived from ,proceeds the defendantobtained directly or indirectly,as the resultofthe violation

    ofTitle 18,United States Code,Section 542,plzrsuantto Title l8,United States Code,Section

    982(a)(2)(B). ln addition,the defendantagreesto forfeiture ofsubstitme property pursuantto
    Title21,United StatesCode,Section 853(p). Theproperty subjectto forfeimreincludes,butis
    notlimitedto,aforfeituremoneyjudgmentintheamountof$276,817.00inU.S.currency,which
    sum representsthevalueofthepropertysubjecttoforfeimre.
           14.    The defendantfurtheragrees thatforfeiture isindependentofany assessm ent,tine,

   cost,restitution,or penalty thatmay be imposed by the Court.The defendantknowingly and

   voluntarily agrees to w aive a1l constitutional, legal, and equitable defenses to the forfeiture,

   including excessive fines under the Eighth A m endm ent to the United States Constitution. ln

   addition,thedefendantagreesto waive:any applicabletimelimitsforadministrativeorjudicial
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 8 of 10




                                                    8
    forfeitureproceedings,therequirementsofFed.R.Crim.P.32.2and43(a),andanyappealofthe
    forfeim re.

            15.    The defendantalso agreesto fully and tnlthfully disclose the existence,nature and

    location ofa11assetsin which thedefendanthasorhad any directorindirecttinancialinterestor

    control,and any assetsinvolved in the offensesofconviction. Thedefendantagreesto take all

    stepsrequested by the United States forthe recovery and forfeiture ofa11assets identified by the

    UnitedStatesassubjecttoforfeiture. Thisincludes,butisnotlimitedto,thetimelydeliveryupon
    request of all necessary and appropriate docum entation to deliver good and m arketable title,

    consenting to a1lordersofforfeiture,and notcontesting orim peding in any w ay w ith any crim inal,

    civiloradministrative forfeitureproceedingconcerning theforfeiture.

           16. The defendantis aw are thatTitle 28,U nited StatesCode,Section 1291 and Title 18,

    U nited States Code,Section 3742 afford thedefendantthe rightto appealthe sentence im posed in

    this case. A cknow ledging this,in exchange for the undertakings m ade by the United States in

    this plea agreem ent,the defendanthereby w aives allrights conferred by Sections 1291 and 3742

    to appealany sentence im posed,including any restitm ion order and any claim thatthe chargesare

    beyond the statute of lim itations,or to appeal the m azm er in w hich the sentence w as im posed,

   unless the sentence exceeds the m axim um perm itted by stam te or is the result of an upward

   departure and/oran upw ard variance from the advisory guideline range thatthe Courtestablishes

   at sentencing. The defendantfurtherunderstands thatnothing in this agreem entshallaffectthe

   governm ent's right and/or duty to appeal as set forth in Title 18,U nited States Code, Section

   37424b)andTitle28,United StatesCode,Section 1291. However,iftheUnited Statesappeals
   thedefendant'ssentencepursuantto Sections37424b)and 1291,thedefendantshallbereleased
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 9 of 10




                                                 9
    from the above w aiver ofhis rightto appealhis sentence. The defendantfurther hereby w aives

    allrightsconferredby Title28,United StatesCode,Section 1291toassertanyclaim that(1)the
    statutels)towhichthedefendantispleadingguiltyis/areunconstimtional;and/or(2)theadmitted
    conductdoesnotfallwithinthescopeofthestatutets)ofconviction. Bysigningthisagreement,
    the defendantacknowledgesthatthe defendanthas discussed the appealwaiversetforth in this

    agreem entwith thedefendant'sattorney. Thedefendantf'urtheragrees,togetherwith thisOftice,

    to requestthatthe Courtenter a specitic tinding thatthe defendant'sw aiverofhis rightto appeal

    the sentence im posed in this case and his rightto appealhis conviction in the m arm erdescribed

    above wasknow ing and voluntary.
Case 1:21-cr-20529-DPG Document 34 Entered on FLSD Docket 01/24/2022 Page 10 of 10




                                                    10


             17. This isthe entire agreem entand understanding betw een this Oftice and the defendant.

    There are no other agreem ents,prom ises,representations,or understandings and this agreem ent

    supersedes any prioragreem ents,including any K astiaarletteragreem ents entered.


                                                 JUA N AN TON IO G ON ZA LEZ
                                                 A'DXM -TTN ITED STA TES ATTO RN EY


    o ate:    I-Zf'Z*                     By:
                                                         AL       .N
                                                          S1S   N   .         TT RN EY


    Date:w1J..> w                         By:
                                                      M IC              .BAN D ,ES .
                                                      ATTO      E                 N DA N T

                                                                    #

    Date:       l-J R-z.w                By:
                                                      JE U S                RO DRIG U EZ,JR .,
                                                      D FEN D           T
